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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE WAWA, INC. DATA SECURITY
 LITIGATION.

 This Document Relates to:
 All Cases
                                                   CIVIL ACTION NO.: 2:19-cv-06019
                               Defendants.         JUDGE GENE K PRATTER




                                    NOTICE OF APPEAL

       Notice is hereby given that Shawn and Karen McGlade (“McGlades”), plaintiffs in the

above-named case, hereby appeal to the United States Court of Appeals for the Third Circuit

from the April 20, 2022 Order of this Court (Dkt. No. 315) granting final approval of the

Consumer Track Plaintiffs’ Motion for Final Approval of the Class Action Settlement (Dkt. No.

271) and the Consumer Track Plaintiffs’ Motion for Attorneys’ Fees, Expenses and Service

Awards (Dkt. No. 257).

                                                    Respectfully submitted,

Dated: April 21, 2022                               s/Donald E. Haviland, Jr.
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